Case 2:19-cv-04237-SVW-PJW Document 14 Filed 06/11/19 Page 1 of 1 Page ID #:244




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:


                                                                2:19−cv−04237−SVW−PJW
  NANO FOUNDATION, LTD., et al.
                                              Plaintiff(s),

           v.
  DAVID C. SILVER                                              RESPONSE BY THE COURT TO NOTICE TO
                                            Defendant(s).
                                                                    FILER OF DEFICIENCIES IN
                                                                ELECTRONICALLY FILED DOCUMENTS




  In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents
  REGARDING:
                                11 and
     6/10/19                 12
                                              Motion to Dismiss/Motion to Strike

   Date Filed                 Doc. No.      Title of Doc.
  IT IS HEREBY ORDERED:
         The documents are stricken.




                                                      Clerk, U.S. District Court

  Dated: June 11, 2019                                By: /s/ Margo Mead
                                                         Deputy Clerk


  cc: Assigned District Judge and/or Magistrate Judge




  G−112B (01/07)   RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
